                                                       Entered on Docket
                                                       December 02, 2013
                                                       GLORIA L. FRANKLIN, CLERK
                                                       U.S BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA



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                                UNITED STATES BANKRUPTCY COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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                                        SANTA ROSA DIVISION
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     In Re:                                        )    Case No.: 13-11540
13                                                 )
                                                   )    Ch 13
              Allain Pasco and Maria Pasco,        )
14
                                                   )    ORDER VALUING LIEN OF PARTNERS
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                      Debtors                      )    FOR PAYMENT RELIEF DE II, LLC
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18   On August 20, 2013, Debtors filed a motion to value the lien of PARTNERS FOR PAYMENT
     RELIEF DE II, LLC (hereinafter Lienholder) against the property commonly known as 26
19   Sequoia Grove Way, American Canyon, CA 94503 (the “Property”) and more fully described in
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     Exhibit A, filed on September 18, 2013 as document #22, which lien was recorded in County of
     Napa on or about June 25, 2007 as document # 2007-0021260 (hereinafter the Lien).
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     The court finds that notice of the motion upon Lienholder was proper. Lienholder having failed
22   to file timely opposition to Debtor’s Motion, the court hereby orders as follows:

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     (1) For purposes of Debtor’s chapter 13 plan only, the Lien is valued at zero, PARTNERS FOR
         PAYMENT RELIEF DE II, LLC does not have a secured claim, and the Lien may not be
24       enforced, pursuant to 11 U.S.C. [§§ 506, 1123(b)(5) and 1141 / §§ 506, 1322 (b)(2) and
         1327].
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     (2) This order shall become part of Debtor’s confirmed chapter 13 plan.
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     (3) Upon entry of a discharge in Debtor’s chapter 13 case, the Lien shall be voided for all
27   purposes, and upon application by Debtor, the court will enter an appropriate form of judgment
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 1
     voiding the Lien.
     (4) If Debtor’s chapter 13 case is dismissed or converted to one under another chapter before
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     Debtor obtains a discharge, this order shall cease to be effective and the Lien shall be retained to
 3   the extent recognized by applicable nonbankruptcy law, and upon application by the lienholder,
     the court will enter an appropriate form of order
 4   restoring the Lien.
 5   (5) Except as provided by separate, subsequent order of this court, the Lien may not be enforced
     so long as this order remains in effect.
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     Dated: December 2, 2013
                                                           S
                                                           Alan Jaroslovsky
                                                           Chief Bankruptcy Judge


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